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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Susan Phillips, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:22−cv−01048
                                                           Honorable Andrea R. Wood
The United States of America
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 19, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: The Court acknowledges
the parties' joint status report [47]. By 3/4/2025, the parties shall file a joint status report
updating the Court on the status of the related criminal matter and whether there is any
new information that would warrant a modification or lifting of the stay. The status report
shall also state whether any party desires a status hearing and, if so, what matters they
would like to discuss with the Court. Mailed notice (lma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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